Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1252 Page 1 of 10




                      EXHIBIT 1
Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1253 Page 2 of 10
Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1254 Page 3 of 10
Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1255 Page 4 of 10
Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1256 Page 5 of 10
Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1257 Page 6 of 10
Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1258 Page 7 of 10
Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1259 Page 8 of 10
Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1260 Page 9 of 10
Case 2:17-cv-00482-TC Document 72-1 Filed 08/04/21 PageID.1261 Page 10 of 10
